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           In the United States Court of Federal Claims
                                             No. 17-95C
                                       (Filed: June 30, 2020)


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                                                        *
BLUE CROSS AND BLUE SHIELD OF                           *
KANSAS CITY,                                            *
                                                        *
                        Plaintiff,                      *
                                                        *
                v.                                      *
                                                        *
THE UNITED STATES,                                      *
                                                        *
                        Defendant.                      *
                                                        *
*************************************


                                               ORDER

       Pursuant to the Stipulation for Entry of Final Judgment, the Court ACCEPTS the
following:

        That the Supreme Court’s decision in Maine Community Health Options entitles
BCBSKC to receive payment of damages from the United States under ACA section 1342 for
risk corridors benefit years 2014, 2015, and 2016 in the total amount of $56,835,703.83
(“Stipulated Damages Amount”). The Parties further agree that receipt of this full
payment will resolve entirely the Complaint in this case.

       Accordingly, the Court enters final judgment in favor of BCBSKC in the total damages
amount of $56,835,703.83 on Count I of the Complaint. The Court dismisses Counts II, III, IV,
and V of the Complaint with prejudice.

        Furthermore, upon entry of final judgment and receipt of full payment by Blue Cross and
Blue Shield of Kansas City of the Stipulated Damages Amount above, Blue Cross and Blue
Shield of Kansas City, including its plans in Kansas (HIOS no. 94248) and Missouri (HIOS no.
34762), and any and all of the Plaintiff’s affiliated entities, release the United States, its agencies,
instrumentalities, officers, agents, employees, and servants, from all claims (including attorney
fees, costs, and expenses of every kind and however denominated) that Blue Cross and Blue
Shield of Kansas City, including its plans in Kansas (HIOS no. 94248) and Missouri (HIOS no.
34762), and any and all of the Plaintiff’s affiliated entities, has asserted, could have asserted, or
may assert in the future against the United States its agencies, instrumentalities, officers, agents,
employees, and servants, arising under Section 1342 of the ACA.
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     The Clerk is directed to enter judgment accordingly.

IT IS SO ORDERED.
                                                            s/ Edward J. Damich
                                                            EDWARD J. DAMICH
                                                            Senior Judge




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